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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §         Criminal No. 4:21-cr-00009
ROBERT T. BROCKMAN                           §
                                             §


                    PARTIES [PROPOSED] SCHEDULING ORDER

         With the agreement of the parties, the Court enters the following Scheduling

Order:

            1. The government shall produce any outstanding materials discoverable under

               Rule 16 of the Federal Rules of Criminal Procedure, Giglio v. United States,

               405 U.S. 150 (1972), and Brady v. Maryland, 373 U.S. 83 (1963) by

               AUGUST 1, 2022. Any Brady-Giglio material subsequently discovered

               must be promptly disclosed. Any Rule 16 material subsequently acquired by

               the government or any of its agents subject to Rule 16 must be produced

               within FOURTEEN CALENDAR DAYS of receipt or acquisition by

               government counsel or its agents. Failure to do so will preclude use of any

               such evidence by the government (other than for impeachment or rebuttal)

               absent a showing of good cause. As to any such Rule 16 material produced

               after August 1, 2022, the burden shall be on the government to demonstrate

               compliance with the fourteen-day exception, or show good cause.
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    2. All motions to dismiss or to sever based on the face of the operative

       indictment, or any other motion based on the face of the operative indictment,

       shall be filed by AUGUST 23, 2022.

    3. All Rule 8 motions, motions for bills of particulars, or motions for discovery

       of jury composition records shall be filed by SEPTEMBER 23, 2022.

    4. Any motion by the government to keep secret the names and identities of

       civilian witnesses, who otherwise shall be disclosed as set forth hereafter,

       shall be filed by SEPTEMBER 23, 2022. Any such motion must be specific

       as to the risks and reasons by individual witness and may be under seal and

       ex parte. Abbreviated memoranda and declarations must be served on

       defense counsel allowing them to at least know the themes advanced under

       seal and ex parte. The submissions must address whether a protective order

       restricting the use of the information would suffice.           Any of the

       aforementioned Rule 16 materials that may require sealing must still be

       produced by the deadline with the names and identities of the civilians in

       questions redacted.

    5. All motions to suppress, motions alleging any defect in instituting the

       prosecution, motions for disclosure of informants, or motions alleging

       selective prosecution shall be filed by OCTOBER 14, 2022.

    6. The parties’ expert witness reports and summaries, in compliance with

       Federal Rules of Criminal Procedure 16(a)(1)(G) and 16(a)(1)(C), shall be

       produced by OCTOBER 14, 2022.


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    7. All proposed Rule 404(b) material shall be disclosed to defense counsel by

       OCTOBER 14, 2022.

    8. All co-conspirator statements which the government seeks to admit into

       evidence under Federal Rules of Evidence 801(d)(2)(E) shall be disclosed to

       defense counsel by OCTOBER 14, 2022.

    9. All motions to exclude/include Rule 404(b) acts shall be filed by

       NOVEMBER 10, 2022.

    10. All motions to exclude co-conspirator statements shall be filed by

       NOVEMBER 10, 2022.

    11. All Rule 16 defense reciprocal disclosures, in compliance with Federal Rules

       of Criminal Procedure 16(b)(1), and any Rule 12.1 and 12.2 defense notices,

       if any, shall be produced to the government by NOVEMBER 16, 2022. Any

       mental examinations shall occur on a schedule to be set by motion.

    12. The government shall provide all material required to be disclosed under the

       Jencks Act, 18 U.S.C. § 3500 by December 1, 2022.

    13. The parties’ rebuttal expert witness reports and summaries shall be filed by

       DECEMBER 16, 2022.

    14. The parties’ Motions in Limine, and Motions under Daubert, if any, shall be

       filed by JANUARY 13, 2023.

    15. The parties’ trial exhibit and witness lists , shall be provided by FEBRUARY

       3, 2023.




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    16. The parties’ proposed jury instructions and proposed voir dire questions shall

       be filed by FEBRUARY 13, 2023.

    17. On FEBRUARY 21, 2023, the final pretrial conference shall be held.

    18. On FEBRUARY 27, 2023, trial shall commence at 9:00 A.M. with jury

       selection.


 So ORDERED, this ______ day of __________, 2022.


                                           _________________________________
                                           George C. Hanks, Jr.
                                           United States District Judge




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